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EXHIBIT 22
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NEW ACCOUNT / SUITA

Account/Policy/Contract #

001785710019

Home Office Use Only
BILITY FORM

ABOUT PROCEDURES WHEN OPENING A NEW ACCOUNT:

for your name, address, date:of birth and other information that

Registered Representatives are responsible to.determine suitability for all recommendations they make.

] A_ CUSTOMER ACCOUNT INFORMATION (Complete for all transactions)

OwneriCustodianTTEE(Fust, Mi, Lasy Gags tant)
Date of Birth z: Lupicere
Son Soony? in
Marital Status. 3
# of Dependants
Legal Residence (no PO Boxes)

ZW few

| Mantal Status

Jt Owner/Insured/Menor(First, Ml, Last)

Date of Brrth

Social Security #

# of Depandants

Legal Residence (na P.O Saxes)

City “Brmecuan Siste Mi Zi Code 43009

City State Zp Code

Mating Address (i different than Legat Residence)

Mailing Address (if different than Legal Residence)

City State 2p Code

City State Zip Code

Employer Name Aodvertianiuh, < Megan 8

AWAD Bodvettrenuhy § (M710
Employer Street Address “7 al Savasau/ ¥2aD
i

Employer Name

Employer Street Address

Cty LAvriec State (1 zpCode 4O34¢2—
Occupation _ hne ACEO

Are you an employee or affiliate of a member firm of the NASD?
OQ Yes ye No

Cily State
Occupation :

Zip Code

Are you an employee or affiiate of a member firm of the NASD?
D Yes OG No :

:__ FINANCIAL: INFORMATION

(Combine far owner and jomnt owner if appicable)

Annual income: 0 $0-$25,000 0 $25,000- $50,000

7P'$50,000 - $100,000 0 $100,000 +
Spearic tnconie for Connecticut.

Marginal Federal Tax Rate. 0 10% 0 15% 0 25%
0 28% 033%. pP35%
NA

Valuo of Principal Residence

Net Worth (excluding residence) Soo, acm +

Liqued- Net Worth (1e savingsiavestments): 7S. oD0

Amount of investmentAnnual Premium 74S. Oo +

Does this purchase replace any other annuity or msurance
product? D Yes \@/No .

if yes, completa Secton D

O Oisabitty income 0 Auto O Mutual Fund OG Annuity
O Life SS Homeownerifine .
WOther — Carmmeax2aat

Was. this: purchase solated by agent?:
Source-of Funds:for ths purchase

QO Current income/Saungs

D Mutual Fund Redemption (complete NS! Switch Form)

o Life Insurance / Annuity Vatues (complete Section D and NSI

O Yes bo

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To help the government fight
ancial institutions to obtain, verify
Means for you: When you open an
will allow us to identify you. We will

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B. RISK ASSESSMENT (Complete for variable and fixed annuities, variable iife and mutual funds only)
| _ INVESTMENT EXPERIENCE . INVESTMENT OBJECTIVE (for this account)
Pamary Objechve — Fund(s) or Subaccount(s) (select one)
Previous Investment Expenence 0 Yes © No Protecton Stability income Growth
Secondary Objective — Product Features (select one)
yes, please list type and amount Protection Stability income Growth
Risk Tolerance None Conservaive Moderate Aggressive
Time Honzon. 0-S years &10years more than 10 years
Current Investments (Type and Amount}: Tax Quafified Retirement Account? © Yes OG No
CDs/Savings ‘ if yes, please indicate reason other than tax deferral for
purchase of annuty / life product, since retirement account is
Annuities/Mutual Funds already tax deferred
Stocks/Bonds D Death Benefit
Property/Business D Annurtzation
Retrement/Pension CO Other
Cash Vatue Life Insurance
Other
Value of Total investments
Remarks:
{ C. LIFE INSURANCE (Complete for aif hifa products, including variable tife)
LIFE INSURANCE NEEDS ANALYSIS | ADDITIONAL INSURANCE INFORMATION
Fmal Expenses: + Chant Recewved Iitustration? Ves O No
(Attach copy of customer signed slustravon)
Total Debt ¥ 300, quo +
__ The Purpose of this insurance ts:
income Replacement . 0 PERSONAL OR FAMILY
_| College Education + 0 Family income 0 Mortgage/Debt Coverage
O FinalExpenses © Other
Gits/ Bequests * BUSINESS INSURANCE
Total Neod: F  SO.0m = OD BuyiSell O Key Person 0 Deferrad Comp
uw # ‘> Business Debt/Line of Credit
Current Life Insurance _2 - | ifthe insured is a sjuveniie (ages 0-14)
‘ Did you see the child at the ime of Applicatian? 0 Yes 0 No
Available Assets. - Does the child Ive with the OQwner/Apphcant? G Yes 0 No
ae IE“No," with whom does the child reside?
‘{ Remaining Need: 7OC,038D = Name
. Relationship
Altemate Needs Analysis Completed? 0 Yes O No How much insurance ts in force with all compames.
(Attach copy and submit} On the Child? $
. wl On the Parent or Guardian? $
sf To pame, Cre rat g. ONE” . On Brothers? On Sisters?
Iesroe Lovet fee. Capcto. Age Amount Age Amount
[PUecHaeeS $ $
$ $
$ $
(if the supporting parent of the chdd or any older brother or sister
£5 not insured, explain fully)
t
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I D. LIFE POLICY OR ANNUITY CONTRACT REPLACEMENTS
TYPES OF REPLACEMENTS

Is a currant contract being replaced (see definition in instructions)? Ao If yes, complete the rest of this section.

| Are values baing used from an existing contract to fund the proposed contract? If yes, this 1s a replacement

if values are being used from an exsting contract, the potential consequences to both the existing and new policy must be
disclosed to the customer by completing this form and prepanng/abtaining an dlustration of the proposed contract and a re-
illustration of the existmg contract Include copies of both iustrations with this suitabitity form.

Existing Contract Type Proposed Contract Type
Issuer of Replaced Coniract/Poficy/Account E>

Tax Consequences of Replacement

i COMPARISON OF CONTRACTS

CONTRACT
Replaced Proposed

Current CDSC or Surrender Charge $ Amaunt
CDSC or Surrender Charge Time Remaiming (months)
Mortality and Expense Charge

Administrative Charge

Premium Charge eS NS

Cost of insurance { , At )
Sales Loads X\ / iY

Suicide & Contestable Periods Time Remaming
Optional Contract Benefits

Death Benefit $ Amount
REASON & JUSTIFICATION FOR REPLACEMENT
Lower charges in new product
Features of new product Specify Late
———__ Other Specify LAK }

NST

Based upon your analysis of the Now Account/SultabHity Form and Replacement Section and any other pertinent
Information, explain why you belleva this reptacement Is appropriate for the customer.

This replacement is appropnate for the following reasons

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| E. ACKNOWLEDGMENT & SIGNATURES

1, lacknowledge that | have discussed my needs and the suitability of this purchase with the representative Further, if this is an
annuity / yanable life purchase for a tax qualified retrement account, | understand tins purchase ts not needed for the purpose of
tax deferral since the retirement account is already tax-deferred If a replacement is nvolved, | have also revewed the
advantages and disadvantages of the proposed replacement. If values from an existing policy are being used to finance this
proposedipolicy, | acknowledge that the consequences of this financing on both the esting pokcy and the new policy have been
explained to me. After renewing the advantages, disadvantages and consequences, | wish to proceed with this transaction.

2 Successors This agreement and its provisions shall be continuous, and shall inure to the benefit of the Company's present
organization, and any successor orgamzabon or assignee, and shall be binding upon the owner/customer and/or the estate,
executors, adranistrators end assigns of the owner/customer

3 Whitten inquines may be directed to Nationwide Secuntes, tnc , Attn Corporate Camphance, 5475 Rings Read, Suite 410, CO-
09-22, Dublin, OH 43017, 1-866-323-2303.

4 (We hereby certdy that the information provided above accurately reflects my/our financial background and investment

objectives

Name of Owner (please print). Can Hrsawy Lupione

Signature of Owner: Date. { { lt { l 65

Identification Type (photograph required) = \_ AS issue Date. -
ver's License (State fA) 9 State-Issued ID (State ) G Mitiayy(D GO US Passport

issuing Authonty _Serirof muir | 108 Fy) 271298 aint | Expiry Date: 1/29 [ne

Name of Joint Owner/ Insured (please pnnt)
Signature of Qwner Date.
Identification Type {photograph required) Issue Date:

O_Dnver's License (State )_O State-lesued ID (State ) 0 Miltary IDG U.S. Passport
|
were

Issuing Aulhonity: ID # Expiry Date

Representative Acknowledgement:

i Confirm that | have personally examined the document(s} listed in “Identification Type” and reasonably believe the information

confirms the identity of the customer(s)

For vanable products, | have entered this transaction on the Secunttes Transachon Blotter 0 Yes 0 No PN/A {Fixed Life/F xed Annurty)
| acknowledge that I belleve that this transaction Is sultabis for the customer. Further, if this is an annuity / variable fife
purchase for a tax qualified retirement account, ! have disclosed that this purchase is not needed for the purpose of tax
deferral since the qualified account Is already tax-deferred. If a replacement is Involved, i have also analyzed the
advantages and disadvanteges and have discussed them with the customer.

Representative Name (Print) ns? E. ct State WL agt #_2Z[- COZYSaAZ
Representative Signature > 4 a Lt. Date li) fos Phone ZY6-203: 2604
Representative E-mail Address Revi AO rb romace _Cerr

Representative Name (Print) State Agt #
Ri tative Sig Date Phono

Representatwe E-mail Address

Pnacipal Review
Pnnt Signature Date

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NATIONWIDE SECURITIES, ING.
5475 Rings Rd., Airium #1, Suite 410, Dublin, OH 43017
NEW ACCOUNT / SUITABILITY FORM

‘| INSTRUCTIONS

The Natonal Assonation of Secunties Dealers (NASD) and the Insurance Marketplace Slandards Assoctabon (IMSA) require that
any product recommendation be. casea on sufficaent knowledge of the cuslomer(s) personal and financial mformaton to determmne
sulatuhty This form ts intended to recard that information Information on this form will be used by the representative and the
companies involved solely for customer identficaton and determmation of Suitability Applicable sections of this form must be fully
"Completed for ail new tife insurance, fred annuity and vanable product (vanable annuity; variable Efe and mutual fund) accounts.

! SECTION A- CUSTOMER ACCOUNT INFORMATION

Informatidn on the customer and this purchase must be completed for the owner(s) of the account for all sales
if the policy or account has jot owners and/or joint insured, the information must be completed for bath parties
¢ For entmes, the following sequred documents must also be attached:
© Corporation — Certified Articles of Incorporation
o Partnership - Partnership Agreement /
© Sole Propnetorship ~ Government-ssued Business License
. o Trust— Trust Agreement / Certification :
Financial information .
¢ ‘Annual Income” for the owner(s) can be either the past or current tax year For Connectcut residents, you must list the specific
dollar amount of mcome .
* The “Tax Rate” should be the approximate marginat federal income tax rate for the past or current year
¢ Net Worth should exclude value of principal residence Liquid net worth is the amount of net worth 1 cash or that is readily
convertible ta cash : .
¢ The replacement question and the solictaton question must be answered on-all cases If the case 1s a replacement, or if the
Source of Funds ts proceeds or values from an existing vanable product, the Replacement Section and the NSI Switch Form (for
mutual funds, vanable annuities and variable {rfe onty) must also be completed .
* A prospectus must be delivered to the customer at or prior to tme of sale for all vanable products.

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Summary Sheet:

November 12, 2003

Client: Gary Harmon Lupiloff
Policy Type: GT 10 / $500,000 DB

Notes:

Purpose of policy is business related. Gary's company “Mad Advertising and
Marketing” has borrowed a sum of money for capital and the investor is
requesting Gary to carry this policy to protect the loan repayment in the event of
Gary's demise. The initial loan amount was for more than $500,000, yet the
amount has now decreased to approximately this amount at this time.

The Investor, William Keene, will show as the primary beneficiary. with the —
verbiage: .ATIMA with. the balance of death benefit at any time to go to the

secondaty beneficiaries, which are Gary's daughters.

William Keene is paying the first estimated quarterly payment to bind this policy.
Gary will be paying the subsequent premium amounts. .

Gary has submitted to have his name officially changed (for professional
reasons) to Gary Harmon. He has been informed that paperwork making this

Official will arrive within 10 days. We will forward a copy of this to you on our
receipt. He would like the policy to reflect his new name: ‘Gary Harmon

Agent: Mary E (Betsy) Reich : i;
Se 248-203-0804" Ze Ue 1 fp le—

G4i4
